8:08-cr-00089-LES-TDT          Doc # 110       Filed: 10/09/08     Page 1 of 6 - Page ID # 337


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 8:08CR89-001

                                                      USM Number 22153-047

REMIGIO PINTO JR.
                       Defendant
                                                      DENISE E. FROST

                                                      Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Com mitted On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts V and X of the Indictment on July 18, 2008.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                          Date Offense                Count
         Title, Section & Nature of Offense                Concluded                Num ber(s)


 21:853 - FORFEITURE                                    Decem ber 26, 2007              X

 21:841(a)(1) and 841(B)(1)(B)(viii) - DISTRIBUTION     Decem ber 26, 2007              V
 OF METHAMPHETAMINE

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts I thru IV and IX of the Indictment are dismissed on the motion of the United States as to
this defendant only.

Final order of forfeiture filed on 10/03/2008 as to Count X.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                 October 8, 2008

                                                                        s/ Lyle E. Strom
                                                               Senior United States District Judge

                                                                             October 9, 2008
8:08-cr-00089-LES-TDT           Doc # 110     Filed: 10/09/08     Page 2 of 6 - Page ID # 338


Defendant: REMIGIO PINTO JR.                                                              Page 2 of 6
Case Number: 8:08CR89-001


                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of sixty (60) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant participate in the 500-hour Comprehensive Drug Treatment Program
         or any similar drug treatment program available.

2.       That the defendant be incarcerated in a federal facility as close to Omaha, Nebraska as
         possible.

3.       The defendant shall be given credit for time served from January 3, 2008 to January
         6, 2008 and February 28, 2008 to March 5, 2008.

The Defendant shall surrender to the United States Marshal for this district on November 3, 2008
at 2:00 P.M.

                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                    __________________________________
                                                            UNITED STATES WARDEN


                                                   By:__________________________________
8:08-cr-00089-LES-TDT             Doc # 110      Filed: 10/09/08       Page 3 of 6 - Page ID # 339


Defendant: REMIGIO PINTO JR.                                                                    Page 3 of 6
Case Number: 8:08CR89-001


                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of four
(4) years.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
8:08-cr-00089-LES-TDT               Doc # 110        Filed: 10/09/08         Page 4 of 6 - Page ID # 340


Defendant: REMIGIO PINTO JR.                                                                             Page 4 of 6
Case Number: 8:08CR89-001




                               SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirem ents Under the Justice for All Act of
         2004), if such sam ple was not collected during im prisonm ent.

2.       Pursuant to 18 U.S.C. § 3583 (d), the defendant shall subm it to a drug test within fifteen (15) days
         of release on supervised release and at least two (2) periodic drug tests thereafter to determ ine
         whether the defendant is using a controlled substance. Further, the defendant shall subm it to such
         testing as requested by any probation officer to detect the presence of alcohol or controlled
         substances in the defendant’s body fluids and to determ ine whether the defendant has used any of
         those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
         of urine sam ples to be tested for the presence of alcohol and/or controlled substances in an am ount
         to be determ ined by the probation officer.

3.       The defendant shall subm it his or her person, residence, office, or vehicle to a search conducted by
         a United States Probation Officer at any tim e; failure to subm it to a search m ay be grounds for
         revocation; the defendant shall warn any other residents that the prem ises m ay be subject to
         searches pursuant to this condition.

4.       Paragraph # 7 of the Standard Conditions of supervision is m odified, i.e., instead of m erely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
         adm inister any alcohol, just the sam e as any other narcotic or controlled substance.

5.       The defendant shall attend, pay for and successfully com plete any diagnostic evaluations, treatm ent
         or counseling program s, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the probation officer.

6.       The defendant shall provide the probation officer with access to any requested financial inform ation.

7.       The defendant shall participate in a victim awareness program as directed by the probation officer.
         Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
         am ount determ ined by the probation officer.

8.       The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
         Nebraska between the hours of 8:00 a.m . and 4:30 p.m ., 111 South 18 th Plaza, Suite C79, Om aha,
         Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinem ent, and,
         thereafter, as directed by the probation officer.
8:08-cr-00089-LES-TDT           Doc # 110      Filed: 10/09/08      Page 5 of 6 - Page ID # 341


Defendant: REMIGIO PINTO JR.                                                                  Page 5 of 6
Case Number: 8:08CR89-001


                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                      Total Fine                    Total Restitution

          $100.00 (paid)



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

         interest requirement is waived.



                                                FINE

         No fine imposed.



                                  SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00. The special assessment
was paid to the Office of the Clerk, District of Nebraska on October 8, 2008, receipt number 8-8328.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
8:08-cr-00089-LES-TDT              Doc # 110        Filed: 10/09/08   Page 6 of 6 - Page ID # 342


Defendant: REMIGIO PINTO JR.                                                                  Page 6 of 6
Case Number: 8:08CR89-001


the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.



          The defendant shall forfeit the defendant’s interest in the following property to the United
States:

          $112.00 in United States currency and $1,800.00 in United States currency




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
docum ent which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
